Filed 08/24/23                                              Case 23-10457                                                    Doc 844



         1 2
           WANGER JONES HELSLEY
         2 Riley C. Walter #91839
           265 E. River Park Circle, Suite 310
         3 Fresno, California 93720

         4 Telephone: (559) 490-0949
           E-Mail: rwalter@wjhattorneys.com
         5
           Attorneys for Debtor and Debtor in Possession, Madera Community Hospital
         6

         7                                 UNITED STATES BANKRUPTCY COURT
         8
                                            EASTERN DISTRICT OF CALIFORNIA
         9
                                                        FRESNO DIVISION
       10
               In re:                                                  Case No. 23-10457
       11
               MADERA COMMUNITY HOSPITAL,
       12                                                              Chapter 11
                             Debtor in Possession.
       13                                                              DCN: WJH-59
                 Tax ID#:            XX-XXXXXXX
       14        Address:            1250 E. Almond Avenue             Date:           August 24, 2023
       15                            Madera, CA 93637                  Time:           9:30 a.m.
                                                                       Place:          2500 Tulare Street
       16                                                                              Courtroom 13
                                                                                       Fresno, CA 93721
       17                                                              Judge:          Honorable René Lastreto II
       18
                                ORDER GRANTING MOTION FOR AN ORDER EXTENDING
       19                                    EXCLUSIVITY PERIODS

       20

       21               At Fresno, in the Eastern District:

       22               Debtor’s Motion for Order Extending Exclusivity Periods (Plans and Votes) (“Motion”)

       23 was held before the Honorable René Lastreto II, United States Bankruptcy Judge, on August 24,

       24 2023, at 9:30 a.m. Appearances are as set forth on the record.

       25               Having reviewed the Motion and supporting papers, having heard the representations of

       26 counsel, and good cause appearing therefor, the Court hereby finds as follows:

       27               IT IS HEREBY ORDERED AS FOLLOWS:

       28               1.        Motion be, and hereby is, granted in its entirety.

             Order Granting Motion for an Order Extending       1               R:\Client\10538-002\PLEADINGS\WJH-59
             Exclusivity Periods                                                    Motion for Order Extending Exclusivity
                                                                                            Periods\Order.082423.gaa.docx
Filed 08/24/23                                              Case 23-10457                                                Doc 844



         1           2.      The Debtor’s Filing Exclusivity Expiration Date is extended until October 6, 2023.

         2           3.      The Debtor’s Solicitation Exclusivity Expiration Date is extended until December

         3 5, 2023.

         4           4.      This Order is without prejudice to the Debtor’s right to seek further extensions of

         5 the Exclusivity Expiration Dates and without prejudice to a reduction request by any creditor.

         6 Presented by:

         7 WANGER JONES HELSLEY

         8

        9 ____________________________
          Riley C. Walter
       10 Attorneys for Debtor in Possession

       11

       12

       13

       14

       15

       16

       17

       18

       19
       20

       21

       22

       23

       24 IT IS SO ORDERED.

       25              Aug 24, 2023
       26
             Dated: __________, 2023                                 ________________________________
       27                                                            René Lastreto II
       28                                                            United States Bankruptcy Judge

             Order Granting Motion for an Order Extending      2            R:\Client\10538-002\PLEADINGS\WJH-59
             Exclusivity Periods                                                Motion for Order Extending Exclusivity
                                                                                        Periods\Order.082423.gaa.docx
